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                                                        UNITED STATES DISTRICT
                                                     EASTERN DISTRICT OF MICHIGAN
                                                          SOUTHERN DIVISION

                           ALEXANDRE ANSARI, individually,
                                                                      Case No. 2:20-cv-10719-SJM
                                        Plaintiff,                    Hon. Stephen J. Murphy
                           -vs-

                           MOISES JIMENEZ, in his individual
                           Capacity,

                                        Defendant.

                            WOLFGANG MUELLER (P43728)             KRYSTAL A. CRITTENDON (P49981)
                            JOHN WM. MARTIN, JR. (P42266)         ALFRED A. ASHU (P82536)
                            Attorneys for Plaintiff               City of Detroit Law Dept.
                            41850 West 11 Mile Road, Suite 101    Co-Counsel for Def Moises Jimenez
McDonald & Baas, PLLC
Novara Tesija Catenacci




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                            john@wolfmuellerlaw.com               critk@detroitmi.gov
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                                                                  SCOTT L. FEUER (P38185)
                                                                  Attorney for Def Moises Jimenez
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                                                                  Troy, MI 48084
                                                                  (248) 354-0380
                                                                  slf@novaralaw.com

                                                 DEFENDANT’S RESPONSE TO PLAINTIFF’S
                                                MOTION TO AMEND JUDGMENT TO INCLUDE
                                                ATTORNEY FEES, COSTS AND PREJUDGMENT
                                                              INTEREST

                                  NOW COMES Defendant, MOISES JIMENEZ, by and through his

                           undersigned counsel, and for Defendant’s Response to Plaintiff’s Motion to Amend


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                           Judgment to Include Attorney Fees, Costs and Prejudgment Interest, submits the

                           following:

                                        1.    Admitted.

                                        2.    Admitted that Plaintiff prevailed on part of his 42 U.S.C. § 1983 claim

                                              filed against Defendant Jimenez but denied that Plaintiff prevailed on

                                              his 42 U.S.C. § 1983 claim filed against former Defendant, City of

                                              Detroit.

                                        3.    Admitted.

                                        4.    Admitted that Affidavits are attached to Plaintiff’s motion but denied

                                              that the billings are “conservative” as alleged by Plaintiff.
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                                        5.    Defendant denies this allegation because the Plaintiff is claiming fees

                                              for a trial unrelated to the instant case.

                                        6.    Defendant denies this allegation.

                                        7.    Admitted that Plaintiff requests an hourly rate but denied that the

                                              amount requested is reasonable.

                                        8.    Defendant denies this allegation; the Median Rate for attorneys

                                              practicing Civil Rights is $350 per hour; Plaintiff’s counsel is asking

                                              for almost triple the Median Rate.

                                        9.    Denied.

                                        10.   Defendant neither admits nor denies but leaves Plaintiff to his proofs.



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                                        11.   Admitted.

                                        12.   Denied.

                                        13.   Admitted.

                                                               Prayer for Relief


                                        WHEREFORE, Defendant requests that the Court deny the amount of hours

                           and the rates Plaintiff requested and award only hours reasonably expended, and that

                           the court disallow the hours requested by Defendant as asserted in the attached brief,

                           and also deduct a percentage amount as requested in the brief. Defendant also

                           requests that the court deny Plaintiff’s request for reimbursement of certain costs.
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Novara Tesija Catenacci




                                                                    Respectfully submitted,

                                                                    CITY OF DETROIT LAW DEPARTMENT

                                                                    /s/ Krystal A. Crittendon___________
                                                                    KRYSTAL A. CRITTENDON (P49981)
                                                                    Attorney for Defendant
                                                                    City of Detroit Law Department
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                                                                    Detroit, MI 48226
                                                                    (313) 237-3031
                                                                    critk@detroitmi.gov

                           Dated: May 13, 2024




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                                                              Respectfully submitted,

                                                              NOVARA TESIJA CATENACCI
                                                              McDONALD & BAAS, PLLC

                                                              /s/ Scott L. Feuer
                                                              SCOTT L. FEUER (P38185)
                                                              Attorneys for Defendant Moises Jimenez
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                           Dated: May 13, 2024                slf@novaralaw.com
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                                                        UNITED STATES DISTRICT
                                                     EASTERN DISTRICT OF MICHIGAN
                                                          SOUTHERN DIVISION

                           ALEXANDRE ANSARI, individually,
                                                                      Case No. 2:20-cv-10719-SJM
                                        Plaintiff,                    Hon. Stephen J. Murphy
                           -vs-

                           MOISES JIMENEZ, in his individual
                           Capacity,

                                        Defendant.

                            WOLFGANG MUELLER (P43728)             KRYSTAL A. CRITTENDON (P49981)
                            JOHN WM. MARTIN, JR. (P42266)         ALFRED A. ASHU (P82536)
                            Attorneys for Plaintiff               City of Detroit Law Dept.
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                                                                  SCOTT L. FEUER (P38185)
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                                                   BRIEF IN SUPPORT OF DEFENDANT’S
                                                  RESPONSE TO PLAINTIFF’S MOTION TO
                                                AMEND JUDGMENT TO INCLUDE ATTORNEY
                                                FEES, COSTS AND PREJUDGMENT INTEREST




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                                                       STATEMENT OF QUESTION PRESENTED

                                 I.          SHOULD THE PLAINTIFF BE AWARDED ATTORNEY
                                             FEES?

                                         Defendant answers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . “No"

                                 II.         IF THE COURT IN ITS DISCRETION DOES AWARD
                                             ATTORNEY FEES, IS $1000 PER HOUR REASONABLE?

                                         Defendant answers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . “No"

                                 III.        IF THE COURT IN ITS DISCRETION DOES AWARD
                                             ATTORNEY FEES, ARE THE HOURS CLAIMED BY THE
                                             PLAINTIFF REASONABLE, ACCURATE ACTUALLY
                                             SPENT?

                                         Defendant answers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . “No"
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                                 IV.         IS PLAINTIFF ENTITLED TO COSTS EVEN THOUGH HE
                                             FAILED TO FOLLOW LOCAL RULE 54.1?

                                         Defendant answers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . “No"

                                 V.          IS PLAINTIFF ENTITLED TO PREJUDGMENT INTEREST
                                             EVEN THOUGH HE WAIVED PREJUDGMENT INTEREST
                                             IN EXCHANGE FOR A WAIVER OF REDUCTION TO
                                             PRESENT CASH VALUE?

                                         Defendant answers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . “No"




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                                                      MOST APPROPRIATE AUTHORITY


                                         • Hensley v Eckerhart, 461 U.S. 424 (1983).


                                         • Copeland v Marshall, 641 F. 2d 880 (D.C. Cir. 1980).


                                         • City of Burlington v Dague, 505 U.S. 557 (1992).


                                         • Northcross v Board of Education, 611 F. 2d 624 (6th Cir. 1988).
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                                                             LOCAL RULE CERTIFICATION


                                         I, Scott L. Feuer, certify that this document complies with Local Rule 5.1(a),

                            including: double-spaced (except for quoted materials and footnotes); at least one-

                            inch margins on the top, sides, and bottom; consecutive page numbering; and type

                            size of all text and footnotes that is no smaller than 10-1/2 characters per inch (for

                            non-proportional fonts) or 14 point (for proportional fonts). I also certify that it is

                            the appropriate length. Local Rule 7.1(d)(3).
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                                                                        FACTS

                                         This matter was filed on March 18, 2020 against the City of Detroit and former

                            Detroit Police Officer Moises Jimenez. Plaintiff’s four-count Complaint alleged the

                            following theories of liability:         Count I – Fourth and Fourteenth Amendment

                            “Fabrication of Evidence” by Defendant Moises Jimenez; Count II – Fourth

                            Amendment “Malicious Prosecution” by Defendant Moises Jimenez; Count III -

                            Fourteenth Amendment Due Process “Brady” Violation by Defendant Jimenez; and

                            Count IV – “Monell” Liability of Defendant City of Detroit. Only Count II survived

                            Defendant’s Motion for Summary Judgment. Plaintiff’s Counsel, Wolfgang Mueller,
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                            previously represented Plaintiff, Alexandre Ansari, in a proceeding wherein Plaintiff

                            applied for and received $273,150.69 from the State of Michigan pursuant to

                            Michigan’s Wrongful Incarceration Compensation Act (hereafter, “WICA”), MCL

                            691.1755. That Act provides that receipt of WICA funds “constitutes a complete

                            release of all claims against this state” and defines “this state” at MCL 691.1752(e)

                            as “the state of Michigan and is political subdivisions, and the agencies, department,

                            commissions, and courts of this state and its political subdivisions.”

                                     A jury trial commenced in June 20, 2023. After five days of trial, a mistrial

                           was declared by this Honorable Court through no fault of Defendant. In the morning

                           of June 28, 2023, a group of individuals appeared in the gallery of the courtroom

                           wearing t-shirts stating that they had been wrongfully incarcerated. The individuals

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                           left the courtroom and presented to the law offices of Goodman & Hurwitz that same

                           afternoon and stood behind Attorney Julie Hurwitz as she conducted a press

                           conference, announcing that she was filing a lawsuit against Defendant Jimenez

                           which alleges that, as in the instant case, he had caused another individual to be

                           wrongfully incarcerated. According to Plaintiff’s Counsel, Mr. Mueller, Ms. Hurwitz

                           assisted him in preparing the Jury Instructions for the Ansari matter. The press

                           conference received extensive local and national media attention and was aired

                           several times on Fox News (Channel 2), WDIV (Channel 4) and WXYZ (Channel

                           7). At least one of these stations was stated by jurors during voir dire as the source
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                           from which they receive their news.

                                     Following a second jury trial that took place in March of 2024, this Court

                           entered judgment in favor of Plaintiff on the one constitutional claim which survived

                           summary judgment and which was filed pursuant to 42 U.S.C. §1983. Plaintiff has

                           now filed a petition for attorney’s fees and costs pursuant to 42 U.S.C. §1988,

                           seeking an award of attorney’s fees for Attorney Wolfgang Mueller in the amount of

                           $723,900.00 and Attorney John W. Martin, Jr. in the amount $297,200.00 for a total

                           of $1,021.100.00 and approximately $9,423.35.35 in taxable costs. (ECF No. 184,

                           PageID.5329).




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                                                                      ARGUMENT

                            I.           THE COURT, IN ITS DISCRETION, MAY AWARD ATTORNEY FEES,
                                         OR MAY REFRAIN FROM AWARDING ATTORNEY FEES, IN ITS
                                         DISCRETION.

                                         42 U.S.C. §1988, states in pertinent part:

                                         ...in any action or proceeding to enforce a provision of section... 1983...
                                         of this title, ... the court, in its discretion, may allow the prevailing
                                         party, other than the United States, a reasonable attorney’s fee as part
                                         of the costs...” (Emphasis added)

                                     In this case, an award of attorney fees is not justified. The operative language

                           is that the Court may, in its discretion, award attorney fees. The converse to that is

                           that the Court may not, in its discretion, award attorney fees. This includes
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                           reasonable appellate attorney’s fees. Riley v. Kurtz, 361 F.3d 906, 915 (6th Cir. 2004);

                           Dowling v. Lipton Loan Servicing L.P, 2009 U.S. App. LEXIS 8347 at 17 (6th Cir.

                           2009).

                                     The fee award should be limited to those post-judgment motions that are

                           “necessary to protect the Plaintiffs’ rights.” White v. Morris, 863 F. Supp. 607, 610

                           (S.D. Ohio 1994). Furthermore, the prevailing party should use “billing judgment”

                           and make a “good-faith effort to exclude from a fee request hours that are excessive,

                           redundant, or otherwise unnecessary.” Hensley v. Eckerhart, 461 U.S. 424, 434

                           (1983). Merely compiling a total of hours spent does not complete the inquiry,

                           because time actually expended is not equal to time reasonably expended. Copeland



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                           v. Marshall, 641 F.2d 880, 891 (D.C. Cir. 1980). See also Loughner v. University of

                           Pittsburgh, 260 F.3d 178, 178-179 (3d Cir. 2001) (reversing district court’s decision

                           to award attorney fees without carefully reviewing the number of hours expended).

                           This Court has discretion to reduce documented hours that in its opinion, were not

                           reasonably expended. See Louisville Black Police Officers Organization, Inc. v.

                           Louisville, 700 F.2d 268, 278-79 (6th Cir. 1983) (upholding district court’s reduction

                           of excessive

                           hours).

                                     Attorney fees are to be awarded with an eye to moderation, seeking to avoid

                           either the reality or appearance of awarding “windfalls.” Blissett v. Casey, 969 F.
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                           Supp. 118, 131 (N.D.N.Y. 1997) affirmed, 147 F.3d 218 (2nd Cir. 1998), cert denied,

                           527 U.S. 1034 (1997). Again, a reasonable attorney’s fee award does “not produce

                           windfalls to attorneys.” Blum v. Stenson, 465 U.S. 886, 897 (1984). See also Alcock-

                           Ladd v. Sec’y of Treasury, 227 F.3d 343, 349 (6th Cir. 2000).

                            II.          PLAINTIFF WAS NOT THE PREVAILING PARTY ON THREE OF
                                         THE FOUR CLAIMS ASSERTED BY PLAINTIFF IN HIS
                                         COMPLAINT, AND PLAINTIFF’S CLAIM FOR PUNITIVE
                                         DAMAGES WAS REJECTED BY THE JURY.

                                         Plaintiff has not prevailed in full. 75% of the claims asserted by Plaintiff have

                            been dismissed. In addition, Plaintiff’s counsel requested that the Jury award the

                            Plaintiff millions of dollars in punitive damages. The Jury rejected that argument


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                            completely and awarded $0 in punitive damages. Those factors should be taken into

                            account by the Court when making a discretionary call on attorney fees.

                            III.         PLAINTIFF SHOULD NOT BE AWARDED THE HOURLY RATE
                                         REQUESTED.


                                     Defendant asserts that a reasonable hourly rate for Plaintiff’s attorneys is

                           $350. The 2023 State Bar of Michigan Economics of Law Practice in Michigan

                           Survey supports Defendant’s position that $350 is a reasonable hourly rate for their

                           services. (See Plaintiff’s Exhibit 6). The issues involved in this case are certainly

                           not novel and address civil rights issues typical of issues with which he confronts in
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                           a civil rights practice. Plaintiff’s counsel, by his own admission, has handled dozens

                           of wrongful conviction cases and is well versed on this area of the law.

                                     Defendant suggests that $350 per hour is a reasonable rate, based upon the

                           State Bar of Michigan Survey. Fairness dictates that a reasonable rate not be at the

                           bottom rate of what is typically charged, nor should it be at the top rate of what is

                           typically billed. The Median Rate should be considered a reasonable rate. The rate

                           should not be a windfall for the Plaintiff, nor should it be discounted for the

                           Defendant. If one examines the different areas that are surveyed, based upon

                           Plaintiff’s counsels’ experience, office location and area of practice, the Median

                           Rates are between $250-$350 per hour. Most of the areas surveyed are not perfect

                           representations of the Plaintiff’s counsels’ practice. For example, although their


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                           location is in Oakland County, south of M-59, the case was tried in Federal Court, in

                           Wayne County.

                                     Since this was a Section 1983 Civil Rights case, Defendant suggests that the

                           most accurate description to reflect a reasonable rate would be that of an attorney

                           practicing in the area of Civil Rights. Although some of the Median Rates are lower,

                           for example, for a sole practitioner, or for an attorney practicing in Oakland County

                           south of M-59, the area of practice seems most relevant. Whether the Civil Rights

                           case is in Oakland County, Washtenaw County or Wayne County, the rates for these

                           types of cases do not change. Although the Median Rate for attorneys practicing in
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                           the area of Civil Rights is higher than the Median Rate for all other categories in

                           which the Plaintiff’s attorneys fall, Defendant suggests that the Median rate of $350

                           most accurately reflects what a true reasonable rate is; that is, reasonable rates that

                           are actually charged and reasonable rates that are actually paid.

                                     Plaintiff demonstrates his lack of good faith when he asks for $1,000 per hour.

                           That is outrageous. Of course, they submit two affidavits from their buddies, one

                           being counsel’s former partner, to say that $1,000 per hour is reasonable. They say

                           that because, number one, they want to help their friend and colleague get more

                           money and two, the more judges that award these outrageous fees the better their

                           chance of being paid those outrageous fees in the future. Nowhere is there any claim




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                           or any evidence that any client has ever paid them anything close to that type of

                           Lodestar, hourly fee.

                                     Plaintiff’s counsel also claim that such a high fee is somehow justified because

                           they were working on a contingent fee and they risked making nothing at all, if they

                           had lost. The Supreme Court has held that enhancement of the fee awarded because

                           there is a contingent fee is not permissible. City of Burlington v Dague, 505 U.S.

                           557, 562 (1992). Of course, Plaintiff’s counsel will already be taking a huge fee,

                           based upon their contingent fee agreement with the plaintiff. Another factor to

                           consider is that there is no insurance coverage for this case. Any fee paid will be paid
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                           by the hardworking taxpayers of the City of Detroit. After all, the Plaintiff’s attorneys

                           will be handsomely compensated in this case, even if this Court denies their request

                           for attorney fees.

                            IV.          PLAINTIFF IS NOT ENTITLED TO ALL THE HOURS REQUESTED
                                         AS THE AMOUNT OF TIME SPENT BY PLAINTIFF’S COUNSEL
                                         WAS NOT REASONABLY EXPENDED OR NECESSARY AND SOME
                                         OF THE WORK WAS SPENT PROSECUTING A BARRED CLAIM
                                         AGAINST THE CITY OF DETROIT.


                                         The two Plaintiff’s lawyers request over $1 Million in attorney fees alone, in

                            addition to what their fee, pursuant to their contingent fee agreement, will be. This

                            is consistent with their continued overreaching in every aspect of this case. That is

                            not just based on their request for $1,000 per hour, times two. The jury returned its



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                            verdict in this case on Friday, February 16, 2024. Mr. Mueller is asking for $51,200

                            in attorney fees for the period of time between February 28, 2024 and April 6, 2024.

                            These billing entries include time for appearance at trial during that period of time,

                            motions that were never filed, a Judgment in March, etc. This request for $51,200

                            could not have reasonably been incurred for this case.

                                         This Court should not have to flyspeck and analyze these purported billing

                            Entries to determine what billing is legitimate and what billing is illegitimate. This

                            also calls into question the billing entries during the period of time for trials in this

                            case. For the most part, Plaintiff’s attorneys have to be taken at their word, with

                            respect to the time incurred. Mant of the billing entries are vague and non-specific.
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                            These gross exaggerations of the actual time spent on this case disqualifies Plaintiff

                            from receiving additional compensation from this Court.

                                         Mr. Martin’s time entries are also exaggerated, vague and non-specific. In

                            addition to all of the hours billed by Mr. Mueller, he billed 112.5 hours between June

                            15, 2023 and June 28, 2023, for “trial prep” in the first trial. He then ended up

                            examining just one witness in the first trial, Todd Perkins. Mr. Martin then billed

                            170.2 hours between January 25, 2024 and February 26, 2024 for “trial prep” for the

                            second trial. He did not examine any witnesses in the second trial, other than the

                            video deposition of witness Robert Slameka.




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                                         The “fee applicant bears the burden of establishing entitlement to an award

                            and documenting the appropriate hours expended and hourly rates.” Hensley v

                            Eckerhart, 461 U.S. 424, 437 (1983). To carry the burden, the attorney must

                            present accurate time records detailed enough to enable the Court to review the

                            reasonableness of the time expended. Woodbridge v Marlene Indus. Corp., 898 F.2d

                            1169, 1177 (6th Cir. 1990), abrogated on other grounds by Buckhannon Bd. & Care

                            Home, Inc. v W.Va. Dep’t of Health & Human Res., 532 U.S. 598 (2001). Courts then

                            must review the billing claims for, and exclude, “[e]xcessive, redundant, or

                            otherwise unnecessary hours.” Butcher v Bryson, No. 3:12-00251, 2014 WL

                            4385876, at *3 (M.D. Tenn. Sept. 5, 2014)(Citing Hensley 461 U.S. at 434). “The
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                            prevailing party did not use “billing judgment” and some of the hours were not

                            reasonably expended but rather were, redundant, or otherwise unnessesary.” Hensley

                            v. Eckerhart, 461 U.S. 424, 434 (U.S. 1983).

                                     Plaintiff should also not be awarded attorney fees for time spent on the claim

                           asserted against the City of Detroit. Where counsel’s work on a successful claim is

                           unrelated to his work on an unsuccessful claim, work on the unsuccessful claim

                           cannot be deemed to have been expended in pursuit of the ultimate result achieved

                           and should not be awarded fees.            Hensley v. Eckerhart, 461 U.S. 424, 434-435

                           (1983).

                                     Duplication of efforts and of work already done during the trial is excessive.


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                            See Coulter v. Tennessee, 805 F.2d 146, 152 (6th Cir. 1986). In Coulter v. Tennessee,

                            805 F.2d 146, 152 (6th Cir. 1986), the Sixth Circuit upheld a 50% reduction where

                            duplication of efforts is a serious problem.

                                     Although the importance of periodic conferences among counsel is

                           recognized, the trial court should deduct hours for excessive time spent conferencing

                           and strategizing and overstaffing. See Guckenberger v. Boston University, 8 F. Supp.

                           2d 91, 101 (D. Mass. 1998); Weinberger v. Great Northern Nekoosa Corp. , 801 F.

                           Supp. 804, 819 (D. Me 1992), aff’d, 47 F.3d 463 (1st Cir.1995) (disallowed over

                           50% for co-counsel conferences).

                                     A fee applicant’s claimed hours may be cut for duplication, and padding
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                           Northcross v. Board of Education, 611 F 2d 624, 636 (6th Cir. 1989). Rather than

                           attempting to determine the precise number of hours that were unreasonably

                           expended, the court may simply reduce the fee award by a percentage to account for

                           any excess. In Ford Motor Co. v. Lloyd Design Corp., 2002 U.S. Dist Lexis 17024

                           (ED. Mich 2002) the court enunciated:

                                          “Courts have exercised their discretion to adjust fee
                                           submissions for a variety of abuses including (but not
                                           limited to) excessive intra-office conferences with co-
                                           counsel, telephone calls and simply when there are an
                                           excessive number of attorneys and staff billing time.
                                           Northcross, 611 F2d at 641 (5% reduction to account for
                                           minimal duplication of services); Cleveland Area Board of
                                           Realtors, 965 F Supp at 1021-1022 (10% reduction for
                                           excessive intra-office conferences and duplicated efforts


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                                               by attorneys); Oxford Venture Fund Limited Partnership
                                               v. Cit Group/Equipment Financing, 1990 U.S. Dist.
                                               LEXIS 14838, 1990 WL 176102, (SD NY 1990)(mem.)
                                               (1/3 reduction for inflated time billed for unsuccessful
                                               telephone calls, excessive time spent briefing
                                               straightforward issues, conferences with co-counsel and
                                               time spent drafting memos to the file or co-counsel); In re
                                               Olson, 280 U.S. App. D.C. 205, 884 F2d 1415, 1429 (DC
                                               Cir 1989) (10% reduction for plethora of "strategy"
                                               conferences consuming time of several attorneys billing at
                                               very high rates); Arthur S. Langenderfer, Inc v. SE Johnson
                                               Co, 684 F Supp 953, 957 (ND Ohio 1988) (10% reduction
                                               for the use of 40 attorneys and support staff); Yankee
                                               Candle v. Bridgewater Candle Co, 140 F Supp 2d 111, 124
                                               (D Mass 2001), aff'd, 259 F3d 25 (1st Cir 2001) (10%
                                               reduction for excessive conferences amongst co-
                                               counsel).”
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                                         The plaintiff has failed to meet this strict burden imposed on a party seeking

                             fees. The award of fees is discretionary. Plaintiff’s attorneys will be well

                             compensated, without a separate award of additional attorney fees. Consequently,

                             Plaintiff’s Motion for Attorney Fees should be denied.

                            V.           PLAINTIFF IS NOT ENTITLED TO COSTS BECAUSE HE FAILED
                                         TO ADHERE TO LOCAL RULE 54.1.

                                         Plaintiff’s request for costs should be denied. Plaintiff failed to follow Local

                            Rule 54.1 (copy of Bill of Costs Handbook attached as Exhibit “A”), which requires

                            a party seeking costs to file a bill of costs no later than 28 days after the entry of

                            Judgment and to follow the Court’s Bill of Costs Handbook. More than 28 days have

                            elapsed since entry of judgment on April 2, 2024. The Bill of Costs Handbook



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                            provides that “before any costs are taxed, a properly completed Bill of Costs

                            form (attached) must be filed.” Bill of Costs Handbook (Exhibit “A”) at p.1

                            (Emphasis supplied).

                                         Plaintiff failed to follow the Rules for the Eastern District of Michigan. His

                            request for costs should therefore be denied.

                            VI.          PLAINTIFF’S REQUEST FOR PREJUDGMENT INTEREST
                                         SHOULD BE DENIED BECAUSE THE PLAINTIFF WAIVED
                                         PREJUDGMENT INTEREST IN EXCHANGE FOR THE
                                         DEFENDANT WAIVING REDUCTION OF THE JUDGMENT TO
                                         PRESENT CASH VALUE.

                                         Plaintiff is now also requesting prejudgment interest. If Plaintiff was going to

                            seek prejudgment interest, that should have been done with the Jury, not now, after
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                            Judgment has been entered and Defendant has agreed to not seek a reduction of the

                            award to present cash value. When working through the Jury Instructions to be

                            given, the parties used, as an exemplar, the Model Civil Jury Instructions for the

                            Western Distirct of Michigan. A copy of the relevant pages from those Model Jury

                            Instructions is attached hereto as Defendant’s Exhibit “B”.

                                         When attempting to arrive at mutually agreeable Jury Instructions, before and

                            at trial, the parties discussed Model Jury Instructions CV 3.04C, which would

                            instruct the Jury to reduce future damages to present cash value. As this Court

                            knows, the Jury awarded the Plaintiff $6,500,000 in Past Compensatory Damages,




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                            and $3,500,000 in Future Compensatory Damages. Accordingly, a reduction to

                            present cash value would be huge.

                                         At the same time, the Plaintiff expressed an interest in prejudgment interest,

                            which is contained in Model Jury Instruction CV 3.05A. Rather than requiring the

                            Jury to have to perform the mathematical calculations involved in reducing an award

                            of future damages to present cash value, and then calculating prejudgment interest,

                            the parties agreed that defendant would waive any claim for reduction of future

                            damages to present cash value, in exchange for Plaintiff waiving any claim for

                            prejudgment interest.

                                         Now that Plaintiff has received a multimillion dollar award, the Plaintiff wants
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                            to renege on the previous agreement and now wants the Court to calculate the award

                            prejudgment interest to the plaintiff. Such gamesmanship should not be sanctioned

                            buy this Court.

                                         In addition, the relevant law is that the Plaintiff cannot receive prejudgment

                            interest from the Court, after waiving such a claim with the Jury. The Jury in this

                            case fully compensated the Plaintiff at trial with its verdict. They were not instructed

                            on interest or reduction to present cash value. In the minds of the Jurors, their $10

                            Million verdict fully compensated Plaintiff for his alleged damages. As such, now

                            going back and calculating prejudgment interest would be punitive, rather than

                            compensatory. The purpose of the jury awarding prejudgment interest is supposed



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                            to be compensatory, not punitive. McDow v Rosado, 657 F.Supp. 2d 463, 466

                            (S.D.N.Y. 2009); United States v Seaboard Surety Co., 817 F.2d 956, 966 (2d Cir.

                            1987).

                                         Plaintiff also clains, without authority, that the Michigan Statute on

                            prejudgment interest should apply, even though the parties, when agreeing on certain

                            Jury Instructions, were applying Federal Law. Needless to say, this is a Federal Case

                            and Federal Law applies. The Court should reject outright these claims made by

                            Plaintiff to, once again, at this late point in the litigation, shift the Rules that are

                            being applied.

                                         The Jury was instructed that if they find in favor of the Plaintiff, the Plaintiff
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                            should be wholly compensated. The Jury has wholly compensated Plaintiff. Plaintiff

                            has waived any claim to additional monies by way of making a late request for

                            prejudgment interest. That claim should be denied.



                                                                     CONCLUSION

                                   The Plaintiff has been fully compensated fpr his alleged damages. His requests

                            for attorney fees, costs and prejudgement should respectfully be denied, for the

                            reasons set forth above. Defendant, Moises Jimenez, therefore, respectfully requests

                            that this Honorable Court deny Plaintiff’s Motion.




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                                                                   Respectfully submitted,

                                                                   CITY OF DETROIT LAW DEPARTMENT

                                                                   /s/ Krystal A. Crittendon___________
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                            Dated: May 13, 2024


                                                                   Respectfully submitted,

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McDonald & Baas, PLLC
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                                                                   McDONALD & BAAS, PLLC

                                                                   /s/ Scott L. Feuer
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                            Dated: May 13, 2024                    slf@novaralaw.com

                                         PROOF OF SERVICE

                            The undersigned certifies that the foregoing instrument was served upon all parties to
                            the above cause to each of the attorneys of record herein at their respective addresses
                            disclosed on the pleadings on May 13, 2024, by: X E-file - Counsel

                            Signature:    /s/Alison L. Nieschulz
                                          ALISON L. NIESCHULZ




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